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 5                        UN ITED STA TES D ISTR ICT CO U RT
 6                                 DISTR ICT O F N EVADA
 7 IJNITED STATESOFAMEIUCA,                       )
 8                                                )
                  Plaintiff,                      )
 9                                                )
         v.                                       )           2:1I-CR-3Z-/-PMP-ICW HI
10                                                )
   ANGEL SESTEAGA,                                )
ll                                                )
                  Defendant.                      )
12                           FINAL O R DE R O F FO R FEITUR E A S T O
                                DEFEN D AN T A N GE L SEST EA G A
13

14         O n O ctober 9, 2012,thisCourtentered a Prelim inary OrderofForfeiturepursuantto Fed.

15 R.Crim.P.32.2(b)(1)and(2);andTitle18,United StatesCode,Section924(d)(1)and Title28,
16 United StatesCode,Section 2461(c);Title26,United StatesCode, Section58724a)and Title28,
17 United StatesCode,Section246l(c)forfeitingpropertyofdefendantANGEL SESTEAGA tothe
18 U nited StatesofA m erica.Crim inallndictm ent,ECFNo.1;M inutesofChangeofPleaprooeedings,
19 ECF No.82;PleaM em orandum,ECF No. 83;PreliminaryOrderofForfeiture,ECF No. 87.
20         IT IS HEREBY ORD ERED , A DJUD GED ,AN D D ECREED ptlrsuantto Fed. R.Crim .P

21 32.2(b)(4)(A)and(BlthattheforfeitlzreofthepropertynamedinthePreliminaryOrderofForfeiture
22 istinalasto defendantANGEL SESTEA GA .
23        D A TED this 7th     day of January              2013.
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25                                               TE     TA TES D ISTR ICT JU DG E
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